Case 1:18-md-02865-LAK Document 464 _ Filed 09/25/20 Page1of2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CUSTOMS AND TAX ADMINISTRATION OF

THE KINGDOM OF DEMARK ; Master Docket 1 8-md-02865 (LAK)
(SKATTEFORVALTNINGEN) TAX REFUND _ : ECF Case
SCHEME LITIGATION :

Honorable Lewis A. Kaplan

This document relates to:
18-cv-10130

DECLARATION OF JOHN M. HANAMIRIAN, ESQUIRE

1. I am a member of the Bar of the State of New York. I am the principal of
Hanamirian Law Firm, P.C., attorney for Defendants Tvetter LLC Pension Plan and Christopher
Nowell.

A I make this Declaration in Support of the Motion to Withdraw as counsel,
pursuant to Local Rule 1.4 of the Rules of this Court.

3. I am fully familiar with the facts and procedural history of this case.

4. This matter was initially filed on June 12, 20218 in the United States District
Court for the District of Connecticut.

5. I have been representing Defendant in their ongoing litigation with
Skatteforvaltningen (““SKAT”).

6. On November 1, 2018, this matter was transferred into a Multi-District Litigation
(“MDL”) before this Court.

7. I agreed to represent Defendants in this action only after Defendants agreed that
they would promptly pay the Firm’s invoices in this matter in accordance with the executed
Engagement Letter dated July 2, 2018 (Exhibit “A”).

8. As of September 24, 2020, Defendants owe $53,249.60 in fees and costs.
Case 1:18-md-02865-LAK Document 464 _ Filed 09/25/20 Page 2of2

9. Despite that Engagement Letter, Defendants paid “slowly” if at all, and for the
past five (5) months have failed to pay any of their legal fees or costs.

10. I discussed my withdrawal from this matter with Defendants on a few occasions,
and Defendants agreed to pay their fees, but did not, and have not, done so.

11. Defendants have not stated they are not able to pay the amounts due.

12. | Defendant Nowell has an Answer to Plaintiff's Amended Complaint due on
October 3, 2020.

13. A form of Answer was provided to Defendant Nowell for review on September 3,
2020.

14. Given the current posture of this case, this is a logical place in the proceedings to
allow for the transition to new counsel.

15. Such a transition would not prejudice Defendants at this time.

16. I do not believe Defendants Tvetter LLC Pension Plan and Christopher Nowell
will suffer any prejudice from my withdrawal as counsel in the above-captioned matter.

17. [have informed Defendants Tvetter LLC Pension Plan and Christopher Nowell
on my intent to withdrawal on a few occasions, but most recently on Thursday, September 17,

2020. To date, I have not received a response.

Dated: Moorestown, New Jersey Pi ee
September 25, 2020

John M. Hanamirian
HANAMIRIAN LAW FIRM, P.C.
Attorney I.D.: 4339149

40 E. Main Street

Moorestown, New Jersey 08057
(856) 793-9092 — o

(856) 793-9121 —f
jmh@hanamirian.com

